                                                                                         Case 1-23-43643-jmm           Doc 79-2         Filed 11/24/23      Entered 11/24/23 03:35:58

                                                                                                                                                        Last Statement:                     September 30, 2023
                                                                                                                                                        Statement Ending:                     October 31, 2023
                                                                                                                                                        Page:                                            1 of 7
                                                                                                                                                        Account Number                            5874067800




                                                                                          196451 M0656DDA110123151703 01 000000000 0 007
                                                                ALHNDNFOFLGLEKHMHPCNGK
                                                                AHOEHLEKNLGMHMHAHDHPGK     SHOWFIELDS INC
                                                                ALFMFLHOBLOPPKAMIFBIJK
                                                                ALHMPCPNLONEFJGHMOHOHK     349 METROPOLITAN AVE
96451 0641654 0001-0007 5874067800 0




                                                                ABKDKAOEHDHPDFBOJHOPJK
                                                                DDLLLDLDDDLDDDDLDLDDLL
                                                                                           BROOKLYN NY 11211




                                                                         D:\\ValleyNationalBank-656_COM\\Work\\Outputs



                                                              Account Statement


                                                              INTL BUSINESS XAA CHECKING - 5874067800
                                                              SUMMARY FOR THE PERIOD: 10/01/23 - 10/31/23

                                                                          Beginning Balance                      Deposits & Other Credits          Withdrawals & Other Debits               Ending Balance
                                                                                    $4,559.90             +          $612,477.34              -         $599,469.55                 =        $17,567.69


                                                              TRANSACTIONS
                                                                                                                                                  Withdrawals &               Deposits &
                                                              Date                       Description                                               Other Debits             Other Credits                Balance
                                                                                         Beginning Balance                                                                                            $4,559.90
                                                              10/02                      CASH MGMT TRSFR CR                                                                     $3,500.00             $8,059.90
                                                                                         REF 2751348L FUNDS TRANSFER FRM DEP
                                                                                         3783232801 FROM
                                                              10/02                      WIRE IN                                                                            $12,677.36               $20,737.26
                                                                                         202310020006522 TRINET HR III, INC REFUND
                                                                                         REF:8617550 9WVV00-REFUND REF
                                                              10/02                      ACH DEBIT                                                  -$1,692.71                                       $19,044.55
                                                                                         Doreen Edri N2023-08-0 N2023-08-02Invoice no.
                                                                                         N2023-08-02
                                                              10/02                      ACH DEBIT                                                  -$1,385.42                                       $17,659.13
                                                                                         Doreen Edri N2023-08-0 N2023-08-01Invoice no.
                                                                                         N2023-08-01
                                                              10/02                      ACH DEBIT                                                    -$421.87                                       $17,237.26
                                                                                         Doreen Edri N2023-09-0 N2023-09-01Invoice no.
                                                                                         N2023-09-01
                                                              10/02                      WIRE OUT                                                   -$1,855.72                                       $15,381.54
                                                                                         202310020002549 MARWA KHALEEL
                                   ALHNDNFOFLGLEKHMGPANEMBK
                                   AHOEHLEKNLGMHMHMLKGPKOKK
                                                              10/02                      WIRE OUT                                                   -$5,977.75                                        $9,403.79
                                   ALFMFLHOBLOPNIBKECECMCFK
                                   ALHMPCPNIPOPONHHDIFJELOK
                                                                                         202310020007955 RACHEL STEPHENS
                                   ABKDLAPIOIOBLPFEPCBHALGK
                                   AGICOIMEKACEGKEGMEMGMCEK   10/02                      WIRE OUT                                                  -$10,000.00                                         -$596.21
                                                                                         202310020007203 SMALL GIRLS PR, LL C
                                                              10/02                      RETURN ITEM                                                                            $1,692.71             $1,096.50
                                                                                         Doreen Edri N2023-08-0 N2023-08-02Invoice no.
                                                                                         N2023-08-02
                                                              10/02                      RETURN ITEM                                                                             $421.87              $1,518.37
                                                                                         Doreen Edri N2023-09-0 N2023-09-01Invoice no.
                                                                                         N2023-09-01




                                                                                                                                        196451 0641654 0001-0007 M0656DDA110123151703 01 L 0
                                                                      Case 1-23-43643-jmm           Doc 79-2      Filed 11/24/23      Entered 11/24/23 03:35:58

                                                                                                                             Account Number:                        5874067800
                                                                                                                             Statement Date:                         10/31/2023
                                                                                                                             Page :                                       2 of 7




                                                              TRANSACTIONS (continued)
96451 0641655 0002-0007 5874067800 0




                                                                                                                            Withdrawals &           Deposits &
                                                              Date    Description                                            Other Debits         Other Credits                Balance
                                                              10/02   RETURN ITEM                                                                   $1,385.42               $2,903.79
                                                                      Doreen Edri N2023-08-0 N2023-08-01Invoice no.
                                                                      N2023-08-01
                                                              10/03   CASH MGMT TRSFR CR                                                            $4,650.00               $7,553.79
                                                                      REF 2761242L FUNDS TRANSFER FRM DEP
                                                                      2904931801 FROM
                                                              10/03   CASH MGMT TRSFR CR                                                            $4,650.00              $12,203.79
                                                                      REF 2761243L FUNDS TRANSFER FRM DEP
                                                                      3783232801 FROM
                                                              10/03   WIRE OUT                                                -$1,000.00                                   $11,203.79
                                                                      202310030001415 SOFTWAREHUT LLC
                                                              10/04   CASH MGMT TRSFR CR                                                            $1,000.00              $12,203.79
                                                                      REF 2771457L FUNDS TRANSFER FRM DEP
                                                                      2904931801 FROM
                                                              10/04   ACH DEBIT                                               -$1,692.71                                   $10,511.08
                                                                      Doreen Edri N2023-08-0 N2023-08-02Invoice no.
                                                                      N2023-08-02
                                                              10/04   ACH DEBIT                                               -$1,385.42                                    $9,125.66
                                                                      Doreen Edri N2023-08-0 N2023-08-01Invoice no.
                                                                      N2023-08-01
                                                              10/04   ACH DEBIT                                                 -$421.87                                    $8,703.79
                                                                      Doreen Edri N2023-09-0 N2023-09-01Invoice no.
                                                                      N2023-09-01
                                                              10/04   WIRE OUT                                                  -$657.33                                    $8,046.46
                                                                      202310040005149 MARWA KHALEEL
                                                              10/04   WIRE OUT                                                -$2,883.47                                    $5,162.99
                                                                      202310040001919 SHOWFIELDS NY 1 LL C
                                                              10/04   WIRE OUT                                                -$4,775.85                                      $387.14
                                                                      202310040004795 MARWA KHALEEL
                                                              10/05   WIRE IN                                                                     $400,000.00             $400,387.14
                                                                      202310050005379 WHITE AND WILLIAMS LLP
                                                                      35706-00011
                                                              10/05   ACH DEBIT                                              -$12,500.00                                  $387,887.14
                                                                      SHOWFIELDS INC YES APPLES 231005
                                                              10/05   WIRE OUT INTL                                          -$30,000.00                                  $357,887.14
                                                                      202310050005860 GROSS, KLEINHENDLE R,
                                                                      HODAK, HALEVY
                                                              10/05   WIRE OUT                                                -$8,000.00                                  $349,887.14
                                                                      202310050006280 ARCANA
                                                              10/05   WIRE OUT                                               -$10,000.00                                  $339,887.14
                                                                      202310050005974 SOFTWAREHUT LLC
                                                              10/05   WIRE OUT                                               -$16,474.50                                  $323,412.64
                                   ALHNDNFOFLGLEKHMGPANEMBK
                                   AHOEHLEKNKHMHMHMLKGPKOKK
                                                                      202310050005581 MWE MASTER ACCOUNT
                                   ALFMFLHOBDOPOIBKEAAMPPFK
                                   ALHMPCPNIPLFAJBKILDPODGK
                                                              10/05   WIRE OUT                                               -$43,476.00                                  $279,936.64
                                   ABKDJAHBHBDDIJDMFMPJLCGK
                                   AGMKMIMIOMCAGCEGEMMAIKMK           202310050005453 LAW OFFICE OF RACH EL S.
                                                                      BLUMENFELD
                                                              10/05   WIRE OUT                                              -$100,000.00                                  $179,936.64
                                                                      202310050005408 SHOWFIELDS NY 1 LL C
                                                              10/06   WIRE IN                                                                      $10,000.00             $189,936.64
                                                                      202310060002669 WHITE AND WILLIAMS LLP
                                                                      35706-00011
                                                              10/06   WIRE OUT                                                  -$200.00                                  $189,736.64




                                                                                                                  196451 0641655 0002-0007 M0656DDA110123151703 01 L 0
                                                                      Case 1-23-43643-jmm       Doc 79-2      Filed 11/24/23      Entered 11/24/23 03:35:58

                                                                                                                         Account Number:                        5874067800
                                                                                                                         Statement Date:                         10/31/2023
                                                                                                                         Page :                                       3 of 7




                                                              TRANSACTIONS (continued)
96451 0641656 0003-0007 5874067800 0




                                                                                                                        Withdrawals &           Deposits &
                                                              Date    Description                                        Other Debits         Other Credits                Balance
                                                                      202310060004758 SHOWFIELDS NY 1 LL C
                                                              10/06   WIRE OUT                                              -$594.13                                  $189,142.51
                                                                      202310060004804 TRINET HR III, INC
                                                              10/06   WIRE OUT                                            -$1,770.50                                  $187,372.01
                                                                      202310060004803 TRINET HR III, INC
                                                              10/06   WIRE OUT                                            -$2,500.00                                  $184,872.01
                                                                      202310060002573 FORTUNE BY FAME, L LC
                                                              10/06   WIRE OUT                                            -$2,864.77                                  $182,007.24
                                                                      202310060004832 TRINET HR III, INC
                                                              10/06   WIRE OUT                                            -$2,892.28                                  $179,114.96
                                                                      202310060004795 TRINET HR III, INC
                                                              10/06   WIRE OUT                                            -$3,109.02                                  $176,005.94
                                                                      202310060004786 TRINET HR III, INC
                                                              10/06   WIRE OUT                                            -$3,410.00                                  $172,595.94
                                                                      202310060001212 PREMIUM ELECTRIC
                                                              10/06   WIRE OUT                                            -$3,879.17                                  $168,716.77
                                                                      202310060002609 HUBSPOT INC
                                                              10/06   WIRE OUT                                            -$5,987.74                                  $162,729.03
                                                                      202310060001911 RACHEL STEPHENS
                                                              10/06   WIRE OUT                                           -$10,000.00                                  $152,729.03
                                                                      202310060004913 SHOWFIELDS NY 1 LL C
                                                              10/06   WIRE OUT                                           -$17,000.00                                  $135,729.03
                                                                      202310060001281 DUMBO MOVING AND S
                                                                      TORAGE, INC.
                                                              10/06   WIRE OUT                                           -$22,000.00                                  $113,729.03
                                                                      202310060003431 SHOWFIELDS FL 1 LL C
                                                              10/06   WIRE OUT                                           -$40,863.10                                   $72,865.93
                                                                      202310060004831 TRINET HR III, INC
                                                              10/06   WIRE OUT                                           -$57,248.35                                   $15,617.58
                                                                      202310060004793 TRINET HR III, INC
                                                              10/06   CASH MGMT TRSFR DB                                  -$2,500.00                                   $13,117.58
                                                                      REF 2791213L FUNDS TRANSFER TO DEP
                                                                      2904931801 FROM
                                                              10/06   CASH MGMT TRSFR DB                                 -$10,000.00                                    $3,117.58
                                                                      REF 2791210L FUNDS TRANSFER TO DEP
                                                                      2904931801 FROM
                                                              10/10   WIRE OUT                                            -$2,141.42                                      $976.16
                                                                      202310100006838 TRINET HR III, INC
                                                              10/16   CHECK 99632399                                      -$2,499.98                                    -$1,523.82
                                                              10/16   OVERDRAFT RTN ITEM                                                        $2,499.98                 $976.16
                                                                      CHECK 99632399
                                                              10/17   FEE BASED CHARGE                                        -$1.27                                      $974.89
                                   ALHNDNFOFLGLEKHMGPANEMBK
                                   AHOEHLEKMLHMHMHMLKGPKOKK
                                                                      FEE BASED ACTIVITY FOR 09/23
                                   ALFMFLHOJLOPNLBKFEGOGHFK
                                   ALHMPCPNJNDDMHIHJDFMKLGK
                                                              10/17   ANALYSIS RESULTS CHG                                -$1,715.55                                     -$740.66
                                   ABKDJAGDKIMMFCLGOMKABFHK
                                   AGIMCIMEKEIGMCMGAEKGICMK           ANALYSIS ACTIVITY FOR 09/23
                                                              10/18   CASH MGMT TRSFR CR                                                        $5,000.00               $4,259.34
                                                                      REF 2910953L FUNDS TRANSFER FRM DEP
                                                                      3783232801 FROM
                                                              10/18   WIRE OUT                                            -$1,500.00                                    $2,759.34
                                                                      202310180006496 SOFTWAREHUT LLC
                                                              10/19   CASH MGMT TRSFR CR                                                       $15,000.00              $17,759.34




                                                                                                              196451 0641656 0003-0007 M0656DDA110123151703 01 L 0
                                                                      Case 1-23-43643-jmm           Doc 79-2      Filed 11/24/23      Entered 11/24/23 03:35:58

                                                                                                                             Account Number:                        5874067800
                                                                                                                             Statement Date:                         10/31/2023
                                                                                                                             Page :                                       4 of 7




                                                              TRANSACTIONS (continued)
96451 0641657 0004-0007 5874067800 0




                                                                                                                            Withdrawals &           Deposits &
                                                              Date    Description                                            Other Debits         Other Credits                Balance
                                                                      REF 2921400L FUNDS TRANSFER FRM DEP
                                                                      3783232801 FROM
                                                              10/19   WIRE OUT                                                  -$200.00                                   $17,559.34
                                                                      202310190009604 SHOWFIELDS NY 1 LL C
                                                              10/19   WIRE OUT                                                  -$557.48                                   $17,001.86
                                                                      202310190014429 SHARIT BEN-ASHER
                                                              10/19   WIRE OUT                                                -$2,670.00                                   $14,331.86
                                                                      202310190015209 DESIGNTUBE LLC
                                                              10/19   CASH MGMT TRSFR DB                                      -$3,000.00                                   $11,331.86
                                                                      REF 2921423L FUNDS TRANSFER TO DEP
                                                                      3783232801 FROM
                                                              10/20   ACH DEBIT                                               -$1,270.84                                   $10,061.02
                                                                      Doreen Edri N2023-09-0 N2023-09-01Invoice no.
                                                                      N2023-09-01
                                                              10/20   WIRE OUT                                                -$3,710.00                                    $6,351.02
                                                                      202310200000498 85 D REALTY LLC
                                                              10/23   WIRE OUT                                                  -$500.00                                    $5,851.02
                                                                      202310230013405 SHOWFIELDS NY 1 LL C
                                                              10/23   WIRE OUT                                                -$1,500.00                                    $4,351.02
                                                                      202310230007201 SOFTWAREHUT LLC
                                                              10/24   WIRE OUT                                                  -$167.58                                    $4,183.44
                                                                      202310240006011 TRINET HR III, INC . INVOICE
                                                                      8652871
                                                              10/24   WIRE OUT                                                -$1,500.00                                    $2,683.44
                                                                      202310230012229 SOFTWAREHUT LLC
                                                              10/25   CHECK 99632399                                          -$2,499.98                                     $183.46
                                                              10/26   CASH MGMT TRSFR CR                                                          $150,000.00             $150,183.46
                                                                      REF 2990952L FUNDS TRANSFER FRM DEP
                                                                      3783232801 FROM
                                                              10/26   WIRE OUT                                                  -$113.39                                  $150,070.07
                                                                      202310260017104 85 D REALTY LLC ET, #3B,
                                                                      NY NY
                                                              10/26   WIRE OUT                                                  -$655.73                                  $149,414.34
                                                                      202310260007226 MARWA KHALEEL
                                                              10/26   WIRE OUT                                                -$1,285.00                                  $148,129.34
                                                                      202310260017604 CISION US INC. US630924
                                                                      1, US730
                                                              10/26   WIRE OUT                                               -$19,975.97                                  $128,153.37
                                                                      202310260017337 TRINET HR III, INC . 0/27/22
                                                                      FOR SHOWFI
                                                              10/26   WIRE OUT                                              -$103,693.88                                   $24,459.49
                                                                      202310260017299 TRINET HR III, INC . 0/27/22
                                   ALHNDNFOFLGLEKHMGPANEMBK
                                   AHOEHLEKMLGMHMHMLKGPLOKK
                                                                      FOR SHOWFI
                                   ALFMFLHOJDOPPLBKFGGAABEK
                                   ALHMPCPNKMDOPCKBBDCFMLGK
                                                              10/30   WIRE OUT                                                -$1,500.00                                   $22,959.49
                                   ABKDKACKIOOKGLNHALICPNGK
                                   AGMGOIEMGAMCGKMKMIKEEKEK           202310300001933 SOFTWAREHUT LLC
                                                              10/31   WIRE OUT                                                  -$656.17                                   $22,303.32
                                                                      202310310015904 C M H, INC. DBA CR
                                                                      OPPMETCALFE ICE 324214022
                                                              10/31   WIRE OUT                                                  -$705.51                                   $21,597.81
                                                                      202310310018751 MARWA KHALEEL
                                                              10/31   WIRE OUT                                                -$1,000.00                                   $20,597.81
                                                                      202310310001762 SOFTWAREHUT LLC




                                                                                                                  196451 0641657 0004-0007 M0656DDA110123151703 01 L 0
                                                                        Case 1-23-43643-jmm                  Doc 79-2        Filed 11/24/23           Entered 11/24/23 03:35:58

                                                                                                                                             Account Number:                         5874067800
                                                                                                                                             Statement Date:                          10/31/2023
                                                                                                                                             Page :                                        5 of 7




                                                              TRANSACTIONS (continued)
96451 0641658 0005-0007 5874067800 0




                                                                                                                                          Withdrawals &                Deposits &
                                                              Date       Description                                                       Other Debits              Other Credits              Balance
                                                              10/31      WIRE OUT                                                            -$1,299.40                                     $19,298.41
                                                                         202310310016007 MARWA KHALEEL
                                                              10/31      WIRE OUT                                                            -$1,730.72                                     $17,567.69
                                                                         202310310016155 TAL ZVI NATHANEL
                                                              Ending Balance                                                                                                                $17,567.69


                                                              CHECKS IN ORDER
                                                              Date                              Number                     Amount     Date                               Number              Amount
                                                              10/16                          99632399                   $2,499.98     10/25                          99632399*             $2,499.98
                                                              (*) Check Number Missing or Check Converted to Electronic Transaction and Listed under the Transaction section.




                                   ALHNDNFOFLGLEKHMGPANEMBK
                                   AHOEHLEKMKHMHMHMLKGOLOKK
                                   ALFMFLHOBLOPMLAKFEAKBOEK
                                   ALHMPCPNJPOAEGCOJKMCGLOK
                                   ABKDICOJDJCDNELILNMBIIHK
                                   AGCAKAEEOIMMMCEGMAICIKEK




                                                                                                                              196451 0641658 0005-0007 M0656DDA110123151703 01 L 0
                                                                   Case 1-23-43643-jmm     Doc 79-2   Filed 11/24/23      Entered 11/24/23 03:35:58

                                                                                                                 Account Number:                        5874067800
                                                                                                                 Statement Date:                         10/31/2023
                                                                                                                 Page :                                       6 of 7




                                                                                         Check Images for Account 5874067800
96451 0641659 0006-0007 5874067800 0




                                                              10/16/2023   # 99632399            $2,499.98    10/25/2023        # 99632399                   $2,499.98




                                   ALHNDNFOFLGLEKHMGPANEMBK
                                   AHOEHLEKMKGMHMHMLKGOKOKK
                                   ALFMFLHOBDOPOLAKFGAEHIFK
                                   ALHMPCPNKOONHDAIBKLLALOK
                                   ABKDLCKABPAFONNJFKODGAGK
                                   AGGKGAMMCMIIGKEKAMIAECMK




                                                                                                      196451 0641659 0006-0007 M0656DDA110123151703 01 L 0
                                                              Case 1-23-43643-jmm   Doc 79-2   Filed 11/24/23      Entered 11/24/23 03:35:58

                                                                                                          Account Number:                        5874067800
                                                                                                          Statement Date:                         10/31/2023
                                                                                                          Page :                                       7 of 7
96451 0641660 0007-0007 5874067800 0




                                   ALHNDNFOFLGLEKHMGPANEMBK
                                   AHOEHLEKNJGMHMHMLKGOLOKK
                                   ALFMFLGOJLOPOKALFFAEANEK
                                   ALHMHKPNKNAPHIKJCECKMLOK
                                   ABKDJDBGGGPPOCNECNJHKNGK
                                   AGIOKIEIGAKKKKMKEAAKECEK




                                                                                               196451 0641660 0007-0007 M0656DDA110123151703 01 L 0
                                   Case 1-23-43643-jmm                 Doc 79-2        Filed 11/24/23          Entered 11/24/23 03:35:58



Bank\ABA Account Name Account Number Branch Account Type Post       Transaction Type Transaction Amount BAI Description   Detail
21201383 SHOWFIELDS INC   5874067800        Checking     10/18/2023 CREDIT                    $5,000.00 TRANSFER CREDIT   REF 2910953L   FUNDS TRANSFER FRMDEP 3783232801 FROM
21201383 SHOWFIELDS INC   5874067800        Checking     10/19/2023 CREDIT                   $15,000.00 TRANSFER CREDIT   REF 2921400L   FUNDS TRANSFER FRMDEP 3783232801 FROM
21201383 SHOWFIELDS INC   5874067800        Checking     10/26/2023 CREDIT                 $150,000.00 TRANSFER CREDIT    REF 2990952L   FUNDS TRANSFER FRMDEP 3783232801 FROM

                                                                                           $170,000.00
